Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 1 of 47            FILED
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Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 2 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 3 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 4 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 5 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 6 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 7 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 8 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 9 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 10 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 11 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 12 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 13 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 14 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 15 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 16 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 17 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 18 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 19 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 20 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 21 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 22 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 23 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 24 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 25 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 26 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 27 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 28 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 29 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 30 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 31 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 32 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 33 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 34 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 35 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 36 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 37 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 38 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 39 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 40 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 41 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 42 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 43 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 44 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 45 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 46 of 47
Case 2:24-cv-00613-LSC   Document 25   Filed 08/30/24   Page 47 of 47
